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 7
                                   UNITED STATES DISTRICT COURT
 8
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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10    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
      themselves and all others similarly situated,
11
                                                        [PROPOSED] ORDER GRANTING
             Plaintiffs,                                PLAINTIFFS’ ADMINISTRATIVE
12
                                                        MOTION TO CONSIDER WHETHER
             v.
13                                                      ANOTHER PARTY’S MATERIAL
      GOOGLE LLC,                                       SHOULD BE SEALED
14                                                      RE: MOTION TO MODIFY SPECIAL
             Defendant.                                 MASTER REPORT (DKT. 690)
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16                                                    Referral: Hon. Susan van Keulen, USMJ

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                                                   -1-               Case No. 4:20-cv-5146-YGR-SVK
                                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR         Document 707-1       Filed 06/15/22     Page 2 of 3



                                         [PROPOSED] ORDER
 1
            Before the Court is Plaintiffs’ Administrative Motion to Consider Whether Another Party’s
 2
     Material Should Be Sealed re: Plaintiffs’ Objections and Motion to Modify Special Master Report
 3
     and Recommendation (Dkt. 690).
 4
            Having considered the Motion, supporting declaration, and other papers on file, and good
 5
     cause having been found, the Court ORDERS as follows:
 6
           Documents           Court’s Ruling on              Reason(s) for Court’s Ruling
 7
          Sought to be          Motion to Seal
 8            Sealed
       Plaintiffs’          GRANTED as to the           Narrowly tailored to protect confidential
 9     Objections    and    portions at:                technical information regarding highly
       Motion to Modify                                 sensitive features of Google’s internal
10     Special     Master   1:9-11, 1:17, 1:19, 5:18-   systems and operations, including the
11     R&R Re: Modified     20, 5:23-24, 6:2, 6:8,      various types of data sources which include
       Preservation Plan    6:10, 6:18, 6:21-22, 7:1,   information related to Google’s internal
12     (Dkt. 665)           7:3-5, 7:8, 7:23, 8:2-3,    project, data signals, and logs and their
                            8:17-19, 8:22-24, 9:1-4,    proprietary functionalities, that Google
13                          9:6, 9:9-12, 9:13-21,       maintains as confidential in the ordinary
                            9:27, 10:8-10               course of its business and is not generally
14                                                      known to the public or Google’s
15                                                      competitors.
       Declaration    of GRANTED as to the              Narrowly tailored to protect confidential
16     David Straite in portions at:                    technical information regarding highly
       Support        of                                sensitive features of Google’s internal
17     Plaintiffs’       1:14-15, 1:17-21               systems and operations, including the
       Objections   and                                 various types of data sources which include
18
       Motion to Modify                                 information related to Google’s internal
19                                                      project, data signals, and logs and their
                                                        proprietary functionalities, that Google
20                                                      maintains as confidential in the ordinary
                                                        course of its business and is not generally
21                                                      known to the public or Google’s
                                                        competitors.
22
       Exhibit A (GOOG- GRANTED as to the               Narrowly tailored to protect confidential
23     CALH-01170421)   portions at:                    technical information regarding highly
                                                        sensitive features of Google’s internal
24                          Redacted in its entirety    systems and operations, including the
                                                        various types of data sources which include
25                                                      information related to Google’s internal
26                                                      data signals and logs and their proprietary
                                                        functionalities, that Google maintains as
27                                                      confidential in the ordinary course of its
                                                        business and is not generally known to the
28                                                      public or Google’s competitors.
                                                   -2-               Case No. 4:20-cv-5146-YGR-SVK
                                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR    Document 707-1       Filed 06/15/22     Page 3 of 3



      Exhibit B (GOOG- GRANTED as to the          Narrowly tailored to protect confidential
 1    CABR-00893711)   portions at:               technical information regarding highly
 2                                                sensitive features of Google’s internal
                       Redacted in its entirety   systems and operations, including the
 3                                                various types of data sources which include
                                                  information      related   to    proprietary
 4                                                functionalities of Google’s services, that
                                                  Google maintains as confidential in the
 5
                                                  ordinary course of its business and is not
 6                                                generally known to the public or Google’s
                                                  competitors.
 7    Exhibit C (GOOG- GRANTED as to the          Narrowly tailored to protect confidential
      CABR-00096597) portions at:                 technical information regarding highly
 8                                                sensitive features of Google’s internal
 9                     Redacted in its entirety   systems and operations, including the
                                                  various types of data sources which include
10                                                information related to Google’s internal
                                                  projects and services, and their proprietary
11                                                functionalities, that Google maintains as
                                                  confidential in the ordinary course of its
12                                                business and is not generally known to the
13                                                public or Google’s competitors.

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           IT IS SO ORDERED.
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      DATED:
18                                                THE HONORABLE SUSAN VAN KEULEN
                                                  United States Magistrate Judge
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                                              -3-               Case No. 4:20-cv-5146-YGR-SVK
                                 [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
